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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF                                           CIVIL ACTION
 PENNSYLVANIA AND STATE OF NEW
 JERSEY,

                       Plaintiffs,
                                                           NO. 17-4540
               v.

 JOSEPH R. BIDEN, et al.,

                       Defendants,

 LITTLE SISTERS OF THE POOR
 SAINTS PETER AND PAUL HOME,

                       Defendant-Intervenor.


                                     SCHEDULING ORDER

       AND NOW, this 15th day of January, 2025, following a Status Conference, and upon

agreement of the Parties that the Administrative Record underlying the dispute remains the same

as it was when the parties filed their Motions for Summary Judgment in September of 2020 (ECF

Nos. 251, 252, 254, 255), IT IS HEREBY ORDERED as follows:

           1. The parties have until March 3, 2025 to file Motions for Summary Judgment,
    which shall not exceed 45 pages.

           2. Responses to said Motions shall be filed on or before April 17, 2025 and shall not
    exceed 45 pages.

           3. Any replies in support of said Motions shall be filed on or before May 19, 2025
    and shall not exceed 30 pages.

                                                   BY THE COURT:


                                                   /s/ Wendy Beetlestone
                                                   WENDY BEETLESTONE, J.
